                        Case: 25-1560
                      UNITED          Document:
                              STATES COURT  OF34   Page: 1FORDate
                                                APPEALS       THEFiled:
                                                                  THIRD 04/17/2025
                                                                            CIRCUIT

                                              CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:
Atlas Data Privacy Corp., et al. v. Quantarium Alliance, LLC and Quantarium Group, LLC
___________________________________________________________________________________

APPEAL FROM DISTRICT COURT:
          District of New Jersey
District:____________________________________________________________________________
                     1:24-cv-04098
D.C. Docket No.:_____________________________________________________________________
                                        March 22, 2024
Date proceedings initiated in D.C.:_______________________________________________________
                                  March 26, 2025
Date Notice of Appeal filed:____________________________________________________________
             25-1560
USCA No.:_________________________________________________________________________
___________________________________________________________________________________
                                             COUNSEL ON APPEAL
                Quantarium Alliance, LLC and Quantarium Group, LLC
Appellant(s):_______________________________________________________________________
                      Clair E. Wischusen, Gordon Rees Scully Mansukhani LLP
Name of Counsel:____________________________________________________________________
                       Quantarium Alliance, LLC and Quantarium Group, LLC
Name of Party(ies):___________________________________________________________________
          290 W. Mt. Pleasant Avenue, Suite 3310, Livingston, NJ 07039
Address:___________________________________________________________________________
                   703-650-7030
Telephone No.:______________________________________________________________________
Fax No.:____________________________________________________________________________
          202-800-2999
         cwischusen@grsm.com
E-mail:_____________________________________________________________________________

For Appellee(s): *List only the names of parties and counsel who will oppose you on appeal
                   Ravjiv D. Parikh
Name of Counsel:____________________________________________________________________
Name of Party(ies):___________________________________________________________________
                     Atlas Data Privacy Corporation, Jane Doe-1, Jane Doe-2, Edwin Maldonado, Scott Maloney, Justyna Maloney, Patrick Colligan, Peter Andreyev, and William Sullivan

         1 Bolan Drive, Suite 101, West Orange, NJ 07052
Address:___________________________________________________________________________
                973.577.5500
Telephone No.:______________________________________________________________________
         973.860.4433
Fax No.:____________________________________________________________________________
E-mail:_____________________________________________________________________________
       rparikh@pemlawfirm.com

                  See Attached Addendum
Name of Counsel:____________________________________________________________________
Name of Party(ies):___________________________________________________________________
Address:___________________________________________________________________________
Telephone No.:______________________________________________________________________
Fax No.:____________________________________________________________________________
E-mail:_____________________________________________________________________________

Is this a Cross-Appeal?                  Yes        No
Appeals Docket No.:__________________________________________________________________

Was there a previous appeal in case?        Yes        No
If yes, Short Title:____________________________________________________________________
Appeals Docket No.:__________________________________________________________________
Citation, if reported:__________________________________________________________________
To your knowledge Case:   25-1560
                      is there       Document:
                               any case           34 orPage:
                                        now pending       about2to beDate Filed:
                                                                      brought    04/17/2025
                                                                              before  this Court or any other
court or administrative agency which:
a) Arises from substantially the same case or controversy as this appeal?        Yes            No
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?
                                                                                 Yes            No
If you answered yes to either “a” or “b” please provide:
              See attached addendum of consolidated cases
Case Name:_________________________________________________________________________
D.C. Docket No.:_____________________________________________________________________
Court or Agency:_____________________________________________________________________
Docket Number:_____________________________________________________________________
Citation, if reported:__________________________________________________________________
___________________________________________________________________________________
                                            NATURE OF SUIT
                                         (Check as many as apply)

1. FEDERAL STATUTES                                          ASSAULT/DEFAMATION
   ANTITRUST                                                 PRODUCT LIABILITY/WARRANTY
   BANKRUPTCY                                                DIVERSITY
   BANKS & BANKING                                           OTHER Specify:______________________
   CIVIL RIGHTS
   COMMERCE, ROUTES, AND TARIFFS                          3. CONTRACTS
   COMMODITIES                                               ADMIRALTY/MARITIME
   COMMUNICATIONS                                            ARBITRATION
   CONSUMER PROTECTION                                       COMMERCIAL
   COPYRIGHT                                                 EMPLOYMENT
   PATENT                                                    INSURANCE
   TRADEMARK                                                 NEGOTIABLE DISBURSEMENTS
   ELECTION                                                  OTHER Specify:______________________
   ENERGY
   ENVIRONMENTAL                                          4. PRISONER PETITIONS
   FOIA FREEDOM OF INFORMATION                               CIVIL RIGHTS
   IMMIGRATION                                               VACATE SENTENCE 2255
   LABOR                                                     HABEAS CORPUS 2254
   OSHA                                                      HABEAS CORPUS 2241
   SECURITIES                                                MANDAMUS/PROHIBITION
   SOCIAL SECURITY                                           OTHER Specify:______________________
   TAX
   EQUAL ACCESS TO JUSTICE                                5. OTHER
   OTHER Specify:______________________                      FORFEITURE
                                                             CIVIL GRAND JURY
2. TORTS                                                     TREATY Specify:_____________________
   ADMIRALTY                                                               NJSA 56:8-166.1, et seq.
                                                             OTHER Specify:______________________

This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this
17th day of ____________________,
_____           April                          25
                                            20_____  .

                     /s/ Clair E. Wischusen
Signature of Counsel:_________________________________________________________________
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     ADDENDUM TO CIVIL APPEAL INFORMATION STATEMENT
                     (FOR NO. 25-1560)

Counsel on Appeal (cont. from page 1 of Civil Appeal Information)

Name of Counsel: Adam R. Shaw
Name of Parties: ATLAS DATA PRIVACY CORP., as assignee of individuals
who are Covered Persons; JANE DOE 1, a law enforcement officer; JANE DOE 2,
a law enforcement officer; EDWIN MALDONADO, SCOTT MALONEY,
JUSTYNA MALONEY, PATRICK COLLIGAN; PETER ANDREYEV; and
WILLIAM SULLIVAN
Address: Boies Schiller Flexner LLP, 30 South Pearl Street, 12th Floor, Albany,
NY 12207
Telephone No.: (518) 434-0600
Fax No.: (518) 434-0665
E-mail: ashaw@bsfllp.com

Name of Counsel: Samantha Parrish
Name of Parties: ATLAS DATA PRIVACY CORP., as assignee of individuals
who are Covered Persons; JANE DOE 1, a law enforcement officer; JANE DOE 2,
a law enforcement officer; EDWIN MALDONADO, SCOTT MALONEY,
JUSTYNA MALONEY, PATRICK COLLIGAN; PETER ANDREYEV; and
WILLIAM SULLIVAN
Address: Boies Schiller Flexner LLP, 2029 Century Park East, Suite 1520, Los
Angeles, CA 90067
Telephone No.: (213) 629-9040
Fax No.: (213) 629-9022
E-mail: sparrish@bsfllp.com

Name of Counsel: Mark Mao
Name of Parties: ATLAS DATA PRIVACY CORP., as assignee of individuals
who are Covered Persons; JANE DOE 1, a law enforcement officer; JANE DOE 2,
a law enforcement officer; EDWIN MALDONADO, SCOTT MALONEY,
JUSTYNA MALONEY, PATRICK COLLIGAN; PETER ANDREYEV; and
WILLIAM SULLIVAN
Address: Boies Schiller Flexner LLP, 44 Montgomery St., 41st Floor, San
Francisco, CA 94104
Telephone No.: (415) 293-6800
Fax No.: (415) 293-6899
E-mail: mmao@bsfllp.com
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Name of Counsel: Eric M. Palmer
Name of Parties: ATLAS DATA PRIVACY CORP., as assignee of individuals
who are Covered Persons; JANE DOE 1, a law enforcement officer; JANE DOE 2,
a law enforcement officer; EDWIN MALDONADO, SCOTT MALONEY,
JUSTYNA MALONEY, PATRICK COLLIGAN; PETER ANDREYEV; and
WILLIAM SULLIVAN
Address: Boies Schiller Flexner LLP, 401 East Law Olas Blvd., Suite 1200, Fort
Lauderdale, FL 33301
Telephone No.: (954) 377-4250
Fax No.: (954) 356-0022
E-mail: epalmer@bsfllp.com

Name of Counsel: David Boies
Name of Parties: ATLAS DATA PRIVACY CORP., as assignee of individuals
who are Covered Persons; JANE DOE 1, a law enforcement officer; JANE DOE 2,
a law enforcement officer; EDWIN MALDONADO, SCOTT MALONEY,
JUSTYNA MALONEY, PATRICK COLLIGAN; PETER ANDREYEV; and
WILLIAM SULLIVAN
Address: Boies Schiller Flexner LLP, 333 Main Street, Armonk, NY 10504
Telephone No.: (914) 749-8200
Fax No.: (914) 749-8300
E-mail: dboies@bsfllp.com

Name of Counsel: Michael L. Zukerman
Name of Parties: Intervenor, Attorney General of New Jersey
Address: Office of the New Jersey Attorney General, RJ Hughes Justice Complex,
25 Market Street, P.O. Box 080, Trenton, NJ 08625
Telephone No.: (609) 789-8684
Fax No.: (609) 292-3508
E-mail: Michael.Zuckerman@njoag.gov

Name of Counsel: Liza B. Fleming
Name of Parties: Intervenor, Attorney General of New Jersey
Address: Office of the New Jersey Attorney General, RJ Hughes Justice Complex,
25 Market Street, P.O. Box 080, Trenton, NJ 08625
Telephone No.: (609) 789-8684
Fax No.: (609) 292-3508
E-mail: Liza.Fleming@njoag.gov


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For Other Pending Cases (cont. from page 2 of Civil Appeal Information
Statement):

Case Name:         Atlas Data Privacy Corp., et al v. DM Group, Inc., et al.
D.C. Docket No.:   1:24-cv-4075-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1558

Case Name:       Atlas Data Privacy Corp. et al. v. Infomatics, LLC
D.C. Docket No.: 1:24-cv-04041-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1556

Case Name:       Atlas Data Privacy Corp., et al v. The People Searchers, LLC
D.C. Docket No.: 1:24-cv-4045-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1557

Case Name:       Atlas Data Privacy Corp., et al v. Deluxe Corp., et al.
D.C. Docket No.: 1:24-cv-4080-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1559

Case Name:       Atlas Data Privacy Corp., et al v. We Inform, LLC, et al.
D.C. Docket No.: 1:24-cv-4098-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1560

Case Name:         Atlas Data Privacy Corp., et al v. Yardi Systems, Inc.
Docket No.:        1:24-cv-4103-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1561

Case Name:         Atlas Data Privacy Corp., et al v. Digital Safety Products
D.C. Docket No.:   1:24-cv-4141-HB
Court or Agency:   United States District Court for the District of New
Docket No.:        Jersey 25-1562




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Case Name:         Atlas Data Privacy Corp., et al v. Civil Data Research
D.C. Docket No.:   1:24-cv-04143-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1563

Case Name:         Atlas Data Privacy Corp., et al v. Scalable Commerce, LLC
D.C. Docket No.:   1:24-cv-04160-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1564

Case Name:         Atlas Data Privacy Corp., et al v. Labels & Lists, Inc.
Docket No.:        1:24-cv-4174-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1565

Case Name:         Atlas Data Privacy Corp., et al v. Innovis Data Solutions Inc.,
D.C. Docket No.:   1 :24-cv-4176-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1566

Case Name:         Atlas Data Privacy Corp., et al v. Accurate Append, Inc.
D.C. Docket No.:   1 :24-cv-4178-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1567

Case Name:         Atlas Data Privacy Corp., et al v. Zillow, Inc., et al.
D.C. Docket No.:   1 :24-cv-04256-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1568

Case Name:         Atlas Data Privacy Corp., et al v. Equimine, Inc., et al.
Docket No.:        1:24-cv-04261 -HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1569

Case Name:         Atlas Data Privacy Corp., et al. v. Thomson Reuters Corp.
D.C. Docket No.:   1:24-cv-04269-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1570


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Case Name:       Atlas Data Privacy Corp., et al v. Melissa Data Corp., et al.
D.C. Docket No.: 1:24-cv-4292-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1571

Case Name:       Atlas Data Privacy Corp., et al v. Restoration of America, et al.
D.C. Docket No.: 1:24-cv-4324-HB
Court or Agency: United States District Court for the District of New Jersey 25-
Docket No.:      1572

Case Name:         Atlas Data Privacy Corp., et al v. i360, LLC, et al.
Docket No.:        1:24-cv-4345-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1573

Case Name:         Atlas Data Privacy Corp., et al v. GoHunt, LLC, et al.
D.C. Docket No.:   1 :24-cv-04380-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1574

Case Name:         Atlas Data Privacy Corp., et al v. Accuzip, Inc.,
D.C. Docket No.:   1:24-cv-4383-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1575

Case Name:         Atlas Data Privacy Corp., et al. v. Synaptix Technology, LLC
D.C. Docket No.:   1:24-cv-4385-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1576

Case Name:         Atlas Data Privacy Corp., et al v. Joy Rockwell Enter., Inc.
Docket No.:        1:24-cv-4389-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1577

Case Name:         Atlas Data Privacy Corp., et al v. Fortnoff Financial, LLC,
D.C. Docket No.:   1:24-cv-04390-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1578

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Case Name:       Atlas Data Privacy Corp., et al v. MyHeritage, Ltd., et al.
D.C. Docket No.: 1:24-cv-4392-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1579

Case Name:       Atlas Data Privacy Corp., et al v. E-Merges.com, Inc.
D.C. Docket No.: 1:24-cv-4434-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1580

Case Name:         Atlas Data Privacy Corp., et al v. We Inform, LLC, et al.
Docket No.:        1:24-cv-04037-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1581

Case Name:       Atlas Data Privacy Corp., et al v. RocketReach LLC, et al.
D.C. Docket No.: 1:24-cv-4664-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1582

Case Name:       Atlas Data Privacy Corp., et al v. Belles Camp Comm., Inc.,
D.C. Docket No.: 1:24-cv-04949-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1583

Case Name:       Atlas Data Privacy Corp., et al v. PropertyRadar, Inc., et al.
D.C. Docket No.: 1:24-cv-5600-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1584

Case Name:         Atlas Data Privacy Corp., et al v. The Alesco Group, L.L.C.
Docket No.:        1:24-cv-5656-MB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1585

Case Name:       Atlas Data Privacy Corp., et al v. Searchbug, Inc.
D.C. Docket No.: 1:24-cv-05658-MB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1586

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Case Name:         Atlas Data Privacy Corp., et al. v. Amerilist, Inc., et al.
D.C. Docket No.:   1 :24-cv-05775-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1587

Case Name:         Atlas Data Privacy Corp., et al. v. US Data Corporation, et al.
D.C. Docket No.:   1:24-cv-7324-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1588

Case Name:         Atlas Data Privacy Corp., et al. v. Smarty, LLC, et al.
Docket No.:        1:24-cv-8075-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1589

Case Name:         Atlas Data Privacy Corp., et al. v. Compact Inform. Sys., LLC
D.C. Docket No.:   1:24-cv-8451-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1590

Case Name:         Atlas Data Privacy Corp., et al. v. Darkowl, LLC, et al.
D.C. Docket No.:   1:24-cv-10600-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1591

Case Name:         Atlas Data Privacy Corp., et al. v. Spy Dialer, Inc.
D.C. Docket No.:   1:24-cv-11023-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1592

Case Name:         Atlas Data Privacy Corp., et al. v. Lighthouse List Co., LLC
D.C. Docket No.:   1:24-cv-11443-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1593




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